Case 3:18-Cr-02359-RBB Docuinent 10 Filed 05/10/18 Page|D.lS Page lofl

UN|TED STATES DlSTR|CT COURT
SOUTHERN DISTRICT OF CAL|FORN|A

UN|TED'STATES OF AMER|CA CASE NUMBER
.` \ _\-{l ___' .. .`_
ABSTRACT oF onDEF\ l (§ l l ,_» .,_f)l ) , C)

VS

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) Booking No. L/';?`P;$}'$;Ll l(.)./li l),)
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TO1THE UN|TED STATES MARSHAL AND l OR WARDEN, METFTOPCT.!TAN CORRECT|ONAL CENTEFl:

Be advised that under date of l l L ) W /

in 1 -rj the“'Court entered _the following order: .

____Li Defendant be released from custody.

Defendant placed on supervised / unsupervised probation l supervised release.

n D'e'iend'ant' continued on supervised l unsupervised probation f supervised release.

Defendant released on $ bond posted.
Defendant appeared in Court. FlNGERPFiiNT & RELEASE.

Defendant remanded and ( bond) ( bond on;appeal} exonerated

" 1-; _g___ Defendant sentenced to TIME SERVED, supervised release for (:;_l years.
__ _ g

Bench Warrant Becalled.

 

 

  

Defendant forfeited collaterai.
Case dismissed.

Case dismissed, charges pending in case no.

 

Defendant to be released to Pretria| Services for electronic monitoring.

Other.

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l… arp/id “?> l))m l/<_
UN|TED STATES D|STR|CT!N|AG|STRATE JUDGE

 

   

OR
JOHN N|ORR|LL v Clerk
by - -
,, // Deputy Clerk
' Cr|m-9 (Rev. 8-11) * u.s och 1993-153439¢;40151
rr )},_: “/r ){}' L/ ;?)

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